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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANI
In Re:                                              Bankruptcy No. 23-12810-amc

MILDRED THOMPSON,                                   Chapter 13
    Debtor,

REAL TIME RESOLUTIONS, INC. AS                      Related Doc: 21
AGENT FOR NATIONAL BEAR HILL
TRUST,
    Movant,

             v.

MILDRED THOMPSON, and
KENNETH E. WEST, Trustee,

      Respondents.

    PRAECIPE TO WITHDRAW MOVANT’S OBJECTON TO CONFIRMATION OF PLAN


TO THE CLERK OF COURTS:

        Kindly withdraw the Movant’s Objection to Confirmation of Plan filed on behalf of Real Time
Resolutions, Inc. as Agent for National Bear Hill Trust on December 1, 2023, at Document No. 21 as
amended plan filed April 29, 2024 satisfies Movant’s objection.

Dated: June 20, 2024
                                                       Respectfully submitted,

                                                       By: /s/ Keri P. Ebeck
                                                       Keri P. Ebeck
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